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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                   Case No. 1:10-cr-168
                                    )
v.                                  )                   Honorable Paul L. Maloney
                                    )
EDDIE CASTILLA-LUGO,                )
                                    )
                  Defendant.        )
____________________________________)


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on September 24, 2010, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Eddie Castilla-Lugo entered a plea of guilty to count 10 of the Superseding

Indictment charging him with being present in the United States without permission of the Attorney

General after having been previously removed after conviction of a felony offense, in violation of

8 U.S.C. §§1326(a), 1326(b)(1). There was no written or oral plea agreement. On the basis of the

record made at the hearing, I find that defendant is fully capable and competent to enter an informed

plea; that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
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               I therefore recommend that defendant's plea of guilty to count 10 of the Superseding

Indictment be accepted and that the court adjudicate defendant guilty of the charge. Acceptance of

the plea, adjudication of guilt, and imposition of sentence are specifically reserved for the district

judge.

               NOTE: Counts 1 and 2, as well as the forfeiture count, remain unresolved for

this defendant and will proceed to trial.



Dated: September 24, 2010                      /s/ Joseph G. Scoville
                                               U.S. Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
United States v. Branch, 537 F.3d 582, 587 (6th Cir.), cert. denied, 129 S. Ct. 752 (2008); Frontier
Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006). General objections do not suffice. Spencer
v. Bouchard, 449 F.3d 721, 724-25 (6th Cir. 2006); see Frontier, 454 F.3d at 596-97; McClanahan
v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir. 2006).
